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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              )
                                       )
      v.                               )       CRIMINAL CASE NO.
                                       )       1:21-CR-00346-BAH-1
GLEN MITCHELL SIMON                    )

 DEFENDANT’S RESPONSE TO THE COURT’S ORDER REGARDING THE
             PUBLIC RELEASE OF VIDEO EVIDENCE

      COMES NOW the Defendant, GLEN MITCHELL SIMON, by and through

undersigned counsel and files this status report as directed by the Court. On

Saturday, April 23, 2022, the Court entered a minute order, directing the parties to

inform the Court of their positions regarding whether the video evidence described

in the proposed Statement of Offense in support of Mr. Simon’s proffered guilty plea

may be made publicly available without restriction. Mr. Simon requests that the

Court not publicly release the video evidence.

      The proffered Statement of Offense, executed by the parties and provided to

the Court in advance of an anticipated change of plea hearing, describes three video

recordings. These are Mr. Simon’s personal videos, obtained by the government

through execution of a search warrant on Mr. Simon’s cell phone. Prior to the plea

hearing held on October 15, 2021, the Court directed the parties to state their

positions on making these videos publicly available without restriction, and both Mr.

Simon and the government filed status reports setting forth their opposition. (Docs.

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26, 28). At the hearing, the Court overruled the parties’ objections and ordered that

the government make the videos publicly available.

      The government has informed defense counsel that it is providing videos to

the Court, not specifically referenced in the statement of offense, in addition to the

three videos previously provided. These videos were not obtained from Mr. Simon’s

phone or created by him.

      For the reasons set forth in Mr. Simon’s previously filed statement, (Doc. 26),

and the reasons set forth in the government’s statement, (Doc. 28), Mr. Simon

objects to the video evidence being made publicly available. Mr. Simon understands

the Court’s position on this matter based upon its prior ruling, but nonetheless

respectfully maintains his opposition to the video evidence being made publicly

available without restriction while his case is still pending.

      Dated: This 25th day of April, 2022.

                                        Respectfully Submitted,

                                        /s/ Rebecca Shepard
                                        Rebecca Shepard
                                        Georgia Bar No. 780692
                                        Attorney for Glen Simon

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